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                                                               January 16, 2024
  District Court Judge Lashan De Arcy Hall
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Re: HUA ZHOU ;1:22-cr-00458-LDH; LETTER MOTION TO
  MODIFY CONDITIONS OF RELEASE TO ATTEND A
  WEDDING ON FEBRUARY 11, 2024-FEBRUARY 12, 2024.

  May it please the Court:

         I represent co-defendant HUA ZHOU. As part of his conditions
  of release, HUA SHOU has a curfew and must be confined to his
  residence by 8: 00 pm. HUA ZHOU would like to attend a Chinese
  New Year Celebration at the following dates, times and locations:
      A. On February 11, 2024 Pacific Palace, 813 55th Brooklyn NY
         11220 which begins at 8:pm -10:30 am
      B. On February 12, 2024 Ocean 6015, 6015 5th Avenue, Brooklyn,
         NY 11:00 PM 04;30 am.
      The Conditions of Release order in this case provides for a curfew to
  be set by Pretrial Services –which was set at 8:00 pm during weekdays.

  Respectfully submitted,

  /s/ ROBERT J. ADINOLFI
  ROBERT J. ADINOLFI, ESQ
   _______________________________________________________________________


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